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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


PETERSEN ENERGÍA INVERSORA, S.A.U. and
PETERSEN ENERGÍA, S.A.U.,

                                  Plaintiffs,

               -against-

ARGENTINE REPUBLIC and YPF S.A.,                                 Case Nos.:

                                  Defendants.                    1:15-cv-02739-LAP
                                                                 1:16-cv-08569-LAP

ETON PARK CAPITAL MANAGEMENT, L.P.,                              ECF Case
ETON PARK MASTER FUND, LTD., and
ETON PARK FUND, L.P.,

                                  Plaintiffs,

               -against-

ARGENTINE REPUBLIC and YPF S.A.,

                                  Defendants.


          NOTICE OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       PLEASE TAKE NOTICE that upon the accompanying (i) Plaintiffs’ Memorandum of

Law in Support of Motion for Summary Judgment; (ii) Plaintiffs’ Rule 56.1 Statement of

Material Facts in Support of Motion for Summary Judgment; and (iii) the Declaration of George

W. Hicks, Jr. in Support of Plaintiffs’ Motion for Summary Judgment and the exhibits annexed

thereto, and all prior pleadings and proceedings had herein, Plaintiffs Petersen Energía Inversora,

S.A.U., Petersen Energía, S.A.U., Eton Park Capital Management, L.P., Eton Park Master Fund,

Ltd., and Eton Park Fund, L.P. (“Plaintiffs”), by and through their undersigned counsel, hereby

move this Court, before the Honorable Loretta A. Preska, at the United States Courthouse,
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Courtroom 12A, 500 Pearl Street, New York, New York 10007, at a date and time to be

determined by the Court, for an Order pursuant to Rule 56 of the Federal Rule of Civil

Procedure, granting Plaintiffs’ Motion for Summary Judgment in the above-captioned action and

for such other further relief as this Court deems just and proper.


Dated: April 14, 2022                         Respectfully submitted,

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                            S.A.U., Petersen Energía, S.A.U., Eton Park Capital
                            Management, L.P., Eton Park Master Fund, Ltd.,
                            and Eton Park Fund, L.P.




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